                        Case 4:17-cr-00293-BSM Document 2310 Filed 12/02/21 Page 1 of 2




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Case 4:17-cr-00293-BSM Document 2310 Filed 12/02/21 Page 2 of 2




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